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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


  MSM DESIGN AND ENGINEERING LLC,

         Plaintiff,                                          Case No.: 1:20-cv-00121

  v.                                                         Judge Gary Feinerman

  THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Sidney I. Schenkier
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                    DEFENDANT
               232                                    2011goldstone
               307                                    new_every_day
                70                                     huihui dian zi
               286                                        ipopstar
               555                                     sunrisefactory
               306                                     mybayer2008
               319                                       sta-audio
               320                                         sta-dj
               322                                         sxtech
               260                                      donni-smile
               317                                     sp-2015canter
               263                                       ebey0077
               264                                        ebey088
               243                                      bestdeal778
               267                                      fast-ny-deal
               329                                      vshop_store
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            262                               eastshop_us
            330                              warehouse_us
            310                               polaris.trade
            334                             yc.stage.lighting
            297                               leo.trade.01
            307                             new_every_day
             20                         China Electronic Factory
             81                  Shenzhen Kun Teng Technology Co., Ltd.


DATED: August 14, 2020                     Respectfully submitted,

                                           /s/ Keith A. Vogt
                                           Keith A. Vogt (Bar No. 6207971)
                                           Keith Vogt, Ltd.
                                           111 West Jackson Boulevard, Suite 1700
                                           Chicago, Illinois 60604
                                           Telephone: 312-675-6079
                                           E-mail: keith@vogtip.com

                                           ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 14, 2020 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
